        Case 17-06498-LT7                 Filed 07/22/19       Entered 07/23/19 09:16:46           Doc 270        Pg. 1 of 4
CSD 3000A [07/01/18]
Name, Address, Telephone No. & I.D. No.
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Gary E. Slater, Esq.
Slater & Truxaw, LLP
15373 Innovation Drive., Suite 210                                                                      July 23, 2019
San Diego, CA 92128
Tel: (858) 675-0755 Fax: (858) 675-0733
Attorneys for Plaintiff Ronald E. Stadtmueller, Chapter 7 Trustee


                    UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
                    325 West F Street, San Diego, California 92101-6991

In Re

JEFFERY LY,
                                                                          Debtor.         BANKRUPTCY NO.       17-06498-LT7


RONALD E. STADTMUELLER, Chapter 7 Trustee,
                                                                                          ADVERSARY NO.     18-90126-LT
                                                                          Plaintiff(s)

v.
                                                                                          Date of Hearing: August 1, 2019
JEFFERY LY,                                                                               Time of Hearing: 9:30 a.m.
                                                                          Defendant(s)    Name of Judge: Hon. Laura S. Taylor


                                                              ORDER ON
        JOINT MOTION AND STIPULATION FOR ENTRY OF ORDER DISMISSING ADVERSARY PROCEEDING



           The court orders as set forth on the continuation pages attached and numbered 2 through 2 with exhibits, if any,

 for a total of 4 pages. Motion/Application Docket Entry No. 28 .

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 DATED:         July 22, 2019
                                                                           Judge, United States Bankruptcy Court
       Case 17-06498-LT7         Filed 07/22/19      Entered 07/23/19 09:16:46          Doc 270      Pg. 2 of 4
 CSD 3000A [07/01/18]                                                                            Page 2 of 2

ORDER ON JOINT MOTION AND STIPULATION FOR ENTRY OF ORDER DISMISSING
ADVERSARY
DEBTOR: JefferyPROCEEDING
                Ly                                           CASE NO.:17-06498-LT7
                                                             ADV NO.:18-90126-LT

The Court having read and considered the JOINT MOTION AND STIPULATION FOR ENTRY OF ORDER DISMISSING
ADVERSARY PROCEEDING (Doc. 28), a true copy of which is attached hereto, marked Exhibit "A" (the "Joint Motion and
Stipulation"), and good cause appearing,
IT IS HEREBY ORDERED that the Joint Motion and Stipulation is granted, approved and adopted as the order of the Court
herein, as follows:
    (a) the Adversary Proceeding is hereby dismissed pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), and
    (b) the pretrial status conference hearing date currently scheduled in Department Three of the Court at 9:30 a.m. on
August 1, 2019 is removed from the Court's calendar and appearances of counsel are excused.




CSD 3000A
                                                                         Signed by Judge Laura Stuart Taylor July 22, 2019
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 5
     Attorneys for Plaintiff,
 6   Ronald E. Stadtmueller, Chapter 7 Trustee
 7
 8                               UNITED STATES BANKRUPTCY COURT
 9                               SOUTHERN DISTRICT OF CALIFORNIA
10   In re                                         )         Case No.: 17-06498-LT7
                                                   )         Chapter 7
11   JEFFERY LY,                                   )
                                                   )         Adv. Proceeding No.: 18-90126-LT
12                  Debtor.                        )
                                                   )
13                                                 )         JOINT MOTION AND STIPULATION
     RONALD E. STADTMUELLER,                       )         FOR ENTRY OF ORDER DISMISSING
14   Chapter 7 Trustee,                            )         ADVERSARY PROCEEDING
                                                   )
15                  Plaintiff,                     )
                                                   )         Date: August 1, 2019
16   v.                                            )         Time: 9:30 a.m.
                                                   )         Dept: Three (Rm. 129)
17   JEFFERY LY,                                   )         Judge: Hon. Laura S. Taylor
                                                   )
18                  Defendant.                     )
                                                   )
19
20           Ronald E. Stadtmueller, chapter 7 trustee (“Plaintiff”) and Jeffery Ly (“Defendant”),
21   each by his undersigned counsel of record (together sometimes hereinafter called the “Parties”),
22   stipulate and agree as follows:
23           Pursuant to this Court’s order entered on July 22, 2019 in the above-captioned bankruptcy
24   case (ECF Doc. 269, the “Settlement Order”), by which the Court authorized and approved the
25   settlement agreement made by and between the Parties respecting the above-captioned adversary
26   proceeding (“Adversary Proceeding”), the Parties hereby stipulate and jointly move the Court
27   for entry of its order dismissing the Adversary Proceeding pursuant to Fed. R. Civ. P.
28   41(a)(1)(A)(ii).


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                                       Exhibit "A" [Page 1 of 2]
                                                                       Signed by Judge Laura Stuart Taylor July 22, 2019
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 1          WHEREFORE, subject to the provisions of the Parties’ settlement agreement and the
 2   Court’s Settlement Order, the Parties jointly request that the Court enter an order dismissing this
 3   Adversary Proceeding, and that the Court remove from its calendar without requiring
 4   appearances of counsel the continued status conference hearing currently scheduled in
 5   Department Three of the Court at 9:30 a.m. on August 1, 2019.
 6          IT IS SO STIPULATED.
 7   Dated: July 22, 2019                  SLATER & TRUXAW, LLP
 8
                                           By:   /s/ Timothy J. Truxaw
 9                                                 Timothy J. Truxaw
                                           Attorneys for Ronald E. Stadtmueller,
10                                         Chapter 7 Trustee, Plaintiff
11   Dated: July 22, 2019                  BANKRUPTCY LAW CENTER, APC
12
                                           By:   /s/ Ahren A. Tiller
13                                                 Ahren A. Tiller
                                           Attorneys for Jeffery Ly, Defendant
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                                    Exhibit "A" [Page 2 of 2]
                                                                   Signed by Judge Laura Stuart Taylor July 22, 2019
